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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION

 NANCY PIQUION,                                               CASE NO.: 0:20-cv-60407

        Plaintiff,
 v.

 LITTLE CRAYONS PRESCHOOL I, LLC a/k/a LITTLE
 CRAYONS PRESCHOOL II, LLC a/k/a CCS
 INVESTMENTS OF TAMARAC, LLC,

       Defendant.
 ________________________________________________/

         COMPLAINT FOR VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

        Plaintiff, Nancy Piquion (the “Plaintiff”), by and through counsel, sues Defendant, Little

 Crayons Preschool I, LLC a/k/a Little Crayons Preschool II, LLC a/k/a CCS Investments of

 Tamarac, LLC (the “Defendant”), and states:

                                   JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because the action arises

 under federal law, namely, the Fair Labor Standards Act (the “FLSA”), 29 U.S.C. §§ 201.

        2.      This Court has supplemental jurisdiction over the Plaintiff’s State law claims

 pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper pursuant to 28 U.S.C. § 1391 because the conduct giving rise to

 the Plaintiff’s claims occurred within this District.

                                               PARTIES

        4.      The Plaintiff is a citizen of the State of Florida and a resident of Broward County.

        5.      Defendant, Little Crayons Preschool I, LLC a/k/a Little Crayons Preschool II,

 LLC a/k/a CCS Investments of Tamarac, LLC is a Florida limited liability company doing

 business in Broward County, Florida.
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                                  ALTER EGO ALLEGATIONS

           6.    Little Crayons Preschool I, LLC, Little Crayons Preschool II, LLC, and CCS

 Investments of Tamarac, LLC, do not maintain corporate formalities and do not operate as

 separate and distinct legal and operational entities separate from their owner/operator, Sasha

 Miracola (“Ms. Miracola”).

           7.    For the matters and functions alleged and relevant herein, these entities were

 merely the alter egos of Ms. Miracola, who disregarded corporate distinctions in practice. These

 entities were the mere instrumentalities for the transaction of Ms. Miracola’s business. As a

 result, Ms. Miracola’s various corporate entities are jointly liable for the actions complained of

 herein.

           8.    Accordingly, when the Plaintiff alleges the “Defendant” as the actor or

 responsible party, she is alleging the participation and responsibility of Little Crayons Preschool

 I, LLC, Little Crayons Preschool II, LLC, and CCS Investments of Tamarac, LLC collectively.

                   APPLICABILITY OF THE FAIR LABOR STANDARDS ACT

           9.    At all times material hereto, the Plaintiff was employed by the Defendant within

 the meaning of the FLSA.

           10.   In performing her duties for the Defendant, the Plaintiff was engaged in

 commerce within the meaning of the FLSA.

           11.   In performing her duties for the Defendant, the Plaintiff used goods and

 products that had been moved or produced in interstate commerce.

           12.   At all times material hereto, the Defendant has used goods and products that

 have been moved or produced in interstate commerce.

           13.   At all times material hereto, the Defendant has been an enterprise engaged in

 commerce within the meaning of the FLSA.




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                                   FACTUAL ALLEGATIONS

        14.     The Plaintiff was employed by the Defendant from approximately March 2019 to

 October 28, 2019 (the “Covered Period”).

        15.     Throughout the Covered Period, the Plaintiff worked for the Defendant as a

 teacher/director at the Defendant’s preschool location in Tamarac, Florida.

        16.     Throughout the Covered Period, the Plaintiff was a full-time employee of the

 Defendant.

        17.     Throughout the Covered Period, the Defendant paid the Plaintiff on an hourly

 basis at $13.00 an hour.

        18.     Throughout the Covered Period, the Plaintiff was required to work in excess of

 forty (40) hours a week.

        19.     Throughout the Covered Period, the Plaintiff worked approximately 305 hours of

 overtime.

        20.     The Defendant knew or should have known that employees, like the Plaintiff,

 routinely were required to work overtime in order to accomplish their assigned tasks.

        21.     The Plaintiff was not fully compensated for her overtime.

        22.     The Defendant did not fully compensate the Plaintiff’s overtime because the

 Defendant has a policy of not paying its employees overtime.

        23.     The Plaintiff is owed approximately $5,947.50, not including liquated damages.

     COUNT I – VIOLATIONS OF THE FAIR LABOR STANDARD ACT (29 U.S.C. § 207)

        24.     The Plaintiff realleges and incorporates by reference paragraphs 1 to 23.

        25.     Under the FLSA, the Plaintiff was entitled to pay for every hour she worked for

 the Defendant and for overtime premium compensation of one and one-half times her regular

 rate of pay, for the hours she worked beyond forty (40) per week for the Defendant.




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         26.    By the above course of conduct, the Defendant violated the FLSA.

         27.    Upon information and belief, the Defendant’s practice of not compensating the

 Plaintiff overtime was not approved in writing by the United States Department of Labor.

         28.    Upon information and belief, the Defendant’s practice of not compensating the

 Plaintiff for overtime was not based on the Defendant’s review of any policy or publication of

 the United States Department of Labor.

         29.    Upon information and belief, the Defendant’s practice of not compensating the

 Plaintiff for overtime was not based upon any advice of counsel received by the Defendant.

         30.    Upon information and belief, the Defendant’s practice of not compensating the

 Plaintiff for overtime was not based upon any investigation by the Defendant of whether the

 Plaintiff actually exceeded forty (40) hours during any pay period.

         31.    Consequently, the Defendant has violated the FLSA willfully.

         32.    Due to the Defendant’s FLSA violations, the Plaintiff is entitled to recover from

 the Defendant her unpaid overtime compensation, liquidated damages, reasonable attorney’s

 fees, and the costs of this action.

        WHEREFORE, the Plaintiff respectfully requests that the Court enter judgment in her

 favor against the Defendant as follows:

                (a)     awarding damages in the amount of her unpaid overtime compensation

 pursuant to 29 U.S.C. § 216(b);

                (b)     awarding additional liquidated damages equal to the amount of her

 unpaid overtime compensation pursuant to 29 U.S.C. § 216(b);

                (c)     awarding reasonable attorney’s fees and costs pursuant to 29 U.S.C. §

 216(b); and

                (e)     granting any other legal or equitable relief the Court deems just and




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 proper.

                                        COUNT II – FRAUD

           33.   The Plaintiff realleges and incorporates by reference paragraphs 1 to 23.

           34.   The State of Florida offers free prekindergarten for all 4-year-olds regardless of

 family income, which is commonly known as the voluntary prekindergarten education program

 (“VPK”). VPK helps children become ready for kindergarten.

           35.   VPK is free to parents because the State of Florida pays eligible schools the cost of

 each child’s tuition. Eligible schools are paid by the State upon the submission of appropriate

 documentation.

           36.   Among other requirements, to be eligible for government payments, a VPK

 provider must employ a director licensed by the State of Florida.

           37.   The Plaintiff is a director licensed by the State of Florida. The Plaintiff was hired

 by the Defendant, in whole or in part, to enable the Defendant to receive payments from the

 State for VPK services.

           38.   During her employment, the Plaintiff discovered that the Defendant was using

 her personal information and her licensing credentials to defraud the State of Florida.

           39.   Specifically, at all times material hereto, the Defendant’s Tamarac location, which

 the Plaintiff worked at, was not eligible for receiving government payments for VBK services.

 However, one or more of the Defendant’s other locations were eligible to receive such payments.

           40.   In order to circumvent Florida law and using the Plaintiff’s licensing credentials,

 the Defendant intentionally falsified documents submitted to the State to make it appear that

 students under the Plaintiff’s care in Tamarac attended one of the Defendant’s other locations,

 which were eligible for government payments.

           41.   The Defendant falsified documentation and made these false statements in order




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 to defraud the State of Florida into making payments to the Defendant for VPK services that

 should not have been made.

           42.   When the Plaintiff learned of this, the Defendant indicated to the Plaintiff that if

 the fraud were ever detected, the Defendant would attempt to blame the Plaintiff, whose

 licensing credentials the Defendant misused in order to accomplish the fraud.

           43.   However, the Plaintiff derived no financial benefit from the Defendant’s fraud.

 The Defendant’s threats were meant to intimate the Plaintiff and discourage her from reporting

 the fraud.

           44.   The Defendant’s fraud places the Plaintiff’s licensing credentials, and therefore

 her livelihood, at unreasonably risk of forfeiture and it also unreasonably subjects the Plaintiff

 to potential criminal and civil liability.

           45.   Since the Defendant’s fraud may be discovered at any time and the Defendant

 intends to blame the Plaintiff when and if so discovered, the danger and risks posed to the

 Plaintiff are ongoing and continuous.

           46.   The Defendant’s fraud has caused the Plaintiff damages.

        WHEREFORE, the Plaintiff respectfully requests that the Court enter judgment in her

 favor against the Defendant as follows:

                 (a)    awarding compensatory damages in an amount to be proven at trial, as

 well as pre-judgment and post-judgment interest;

                 (b)    awarding fees and costs incurred in this action; and

                 (c)    granting any other legal or equitable relief the Court deems just and

 proper.




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                                DEMAND FOR JURY TRIAL

       The Plaintiff demands a trial by jury pursuant to Federal Rule of Civil Procedure 38.

 DATED February 25, 2020.

                                    Respectfully Submitted By:

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